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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

                                                    :
CRISTALI FERNANDEZ,                                 :
                                                          No.
                                                    :
               Plaintiff,                           :
                                                    :
                                                          Filed Electronically
       vs.                                          :
                                                    :
CREDIT ACCEPTANCE                                   :
                                                          NOTICE OF REMOVAL
CORPORATION,                                        :
                                                    :
               Defendant.                           :
                                                    :


       Defendant Credit Acceptance Corporation (“Credit Acceptance”), by counsel, and

pursuant to 28 U.S.C. §§ 1441 and 1446, hereby removes the above-entitled action, which is

currently pending in the Superior Court of New Jersey, Law Division Special Civil Part, Hudson

County (Docket No. DC-006909-16), and states as follows:

                                          Background

       1.      On July 28, 2016, Plaintiff, Cristali Fernandez (“Plaintiff”), commenced an action

against Credit Acceptance in the Superior Court of New Jersey, Law Division Special Civil Part,

Hudson County by filing a Complaint against Credit Acceptance alleging violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”). A copy of Plaintiff’s

Complaint is attached as Exhibit A.

       2.      Credit Acceptance was purportedly served with a copy of this Complaint on

August 8, 2016.

       3.      The Complaint constitutes “all process, pleadings, and orders served upon” Credit

Acceptance in this action to date. 28 U.S.C. § 1446(a).


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                                      Timeliness of Removal

       4.      Credit Acceptance received notice of this action through the service of the

Complaint on August 8, 2016. Therefore, this notice of removal is timely under 28 U.S.C. §

1446(b) because less than 30 days have passed since Credit Acceptance was served with

Plaintiff’s Complaint.

                                       Removal Jurisdiction

       5.      This action is properly removable under 28 U.S.C. § 1441(a) because this Court

has original jurisdiction of this case under 28 U.S.C. § 1331, which provides in pertinent part:

“The district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.”

       6.      Specifically, Plaintiff’s Complaint alleges that Credit Acceptance violated the

TCPA. Therefore, this is a civil action “arising under the Constitution, laws, or treaties of the

United States” pursuant to Section 1331, and removal is appropriate pursuant to Sections 1441

and 1446.

       7.      Removal to this court is proper as the United State District Court, District of New

Jersey embraces the Superior Court of New Jersey, Law Division Special Civil Part, Hudson

County, where the state court action was filed.

                               Notice to State Court and Plaintiff

       8.      Pursuant to 28 U.S.C. § 1446(d), Credit Acceptance is promptly providing written

notice of this removal to Plaintiff and will promptly file a copy of this Notice of Removal with

the Clerk of the Court for the Superior Court of New Jersey, Law Division Special Civil Part,

Hudson County.




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       WHEREFORE, Defendant Credit Acceptance Corporation respectfully requests that the

above-entitled action be removed from the Superior Court of New Jersey, Law Division Special

Civil Part, Hudson County to this Court.

                           LOCAL RULE 11.2 CERTIFICATION

       I certify that the matter in controversy is not the subject of any other action pending in

any court, or of any pending arbitration or administrative proceeding.


                                             Respectfully submitted,

                                             CREDIT ACCEPTANCE CORPORATION

                                             By: /s/ Thomas F. Lucchesi
                                             Eric M. Hurwitz
Date: September 6, 2016                      Thomas F. Lucchesi
                                             Stradley Ronon Stevens & Young, LLP
                                             A Pennsylvania Limited Liability Partnership
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                                                3.
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                                CERTIFICATE OF SERVICE

              I, Thomas F. Lucchesi, hereby certify that on September 6, 2016, I caused the

foregoing Notice of Removal, and accompanying exhibits, to be electronically filed via the

Court’s ECF system. The foregoing documents are available for viewing and downloading from

the PACER system.

              I further certify that on this date, I caused a true and correct copy of the foregoing

to be served via UPS Overnight Delivery and First Class U.S. Mail, postage prepaid, upon the

following:

                            Yaakov Saks, Esq.
                            R.C. Law Group, PLLC
                            285 Passaic Street
                            Hackensack, NJ 07601
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                                     /s/ Thomas F. Lucchesi
                                     Thomas F. Lucchesi




                                                4.
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                   EXHIBIT “A”




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